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17
18                            UNITED STATES DISTRICT COURT
19                           CENTRAL DISTRICT OF CALIFORNIA
20   JOSE ESTRADA,                                )    Case No.: 2:20-cv-06417-AB-AFM
                                                  )
21           Plaintiff,                           )    JOINT STIPULATION FOR
     v.                                           )    DISMISSAL PURSUANT TO
22                                                )
     ROSS STORES, INC., a Delaware                     F.R.C.P. 41 (a)(1)(A)(ii)
     Corporation; and Does 1-10,                  )
23                                                )
             Defendants.                          )
24                                                )
                                                  )
25
26          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between the
27   parties hereto that this action may be dismissed with prejudice as to all parties; each
28



     Joint Stipulation                           -1-           2:20-cv-06417-AB-AFM
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 1   party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as the
 2   matter has been resolved to the satisfaction of all parties.
 3
 4   Dated: December 11,2020          CENTER FOR DISABILITY ACCESS
 5
 6                                     By:   /s/ Amanda Seabock
                                             Amanda Seabock
 7                                           Attorneys for Plaintiff
 8
 9   Dated: December 11,2020          SEYFARTH SHAW LLP
10
11
12                                     By:    /s/ Ashley Arnett
13                                            Kristina M. Launey
                                              Ashley Arnett
14                                            Attorneys for Defendant
                                              Ross Stores, Inc.
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     Joint Stipulation                            -2-           2:20-cv-06417-AB-AFM
Case 2:20-cv-06417-AB-AFM Document 23 Filed 12/11/20 Page 3 of 3 Page ID #:83




 1                              SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Ashley Arnett, counsel
 4   for Ross Stores, Inc., and that I have obtained authorization to affix his electronic
 5   signature to this document.
 6
 7   Dated: December 11,2020         CENTER FOR DISABILITY ACCESS
 8
 9
                                     By:    /s/ Amanda Seabock
                                            Amanda Seabock
10                                          Attorneys for Plaintiff
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     Joint Stipulation                          -3-           2:20-cv-06417-AB-AFM
